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                        EXHIBIT 6
Case: 1:22-cv-00125 Document #: 331-9 Filed: 03/21/23 Page 2 of 19 PageID #:5755




From: Ted Normand <tnormand@fnf.law>
Sent: Tuesday, February 21, 2023 11:53 AM
To: Blain, Jordan M <Jordan.Blain@skadden.com>; Steven Magnusson
<smagnusson@gilbertlitigators.com>; Van Gelder, Amy
<Amy.VanGelder@skadden.com>; 'Stein, Scott D.' <sstein@sidley.com>;
Carbone_Defs_Service@listserv.whitecase.com
Cc: Robert Gilbert <rgilbert@gilbertlitigators.com>; 568 Litigation
<568_Litigation@fnf.law>
Subject: Re: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Jordan –

You are correct. The language for RFP 40 was in the sheet labeled as RFP 41. Attached is
an updated final sheet with RFP 41 fixed to have its correct language. Tx.

Ted

From: "Blain, Jordan M" <Jordan.Blain@skadden.com>
Date: Thursday, February 16, 2023 at 1:17 PM
To: Steven Magnusson <smagnusson@gilbertlitigators.com>, "Van Gelder, Amy"
<Amy.VanGelder@skadden.com>, "'Stein, Scott D.'" <sstein@sidley.com>,
"Carbone_Defs_Service@listserv.whitecase.com"
<Carbone_Defs_Service@listserv.whitecase.com>
Cc: Robert Gilbert <rgilbert@gilbertlitigators.com>, Ted Normand
<tnormand@fnf.law>, 568 Litigation <568_Litigation@fnf.law>
Subject: RE: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs
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[EXTERNAL SENDER]

Steven and all,

Please find attached the final negotiated search terms based on the parties’ meet-and-confer last
week. The search terms that are no longer applicable because they relate only to RFPs not
included on Plaintiffs’ reduced list are highlighted in red.

Defendants have one question regarding the Plaintiffs’ reduced list of RFPs. Column A of the
chart identifies RFP No. 41, but the text next to it in Column B belongs to RFP No. 40: “All
Documents Concerning the 568 Group’s antitrust policies, guidelines, trainings, and public
relations materials including analyses of the 568 Group’s compliance with the 568 Exemption
and any analyses of the Overlap Agreement reached as part of the case known as United States
v. Brown, 5 F.3d 658 (3d Cir. 1993).” Based on this, we assume that it is RFP No. 40 -- not RFP
No. 41 -- that Plaintiffs intend to keep. Please confirm this assumption is correct.

As always, the use of the negotiated search terms remains subject to individual Defendants’ (1)
search term testing and results and (2) objections to Plaintiffs’ document requests. As such, each
individual Defendant reserves the right to modify or eliminate negotiated search terms based on
their individual circumstances or written objections to specific requests.

Jordan Blain
Associate
Skadden, Arps, Slate, Meagher & Flom LLP
155 N. Wacker Drive | Chicago | Illinois | 60606-1720
T: +1.312.407.0447 | F: +1.312.827.9302
jordan.blain@skadden.com


From: Steven Magnusson <smagnusson@gilbertlitigators.com>
Sent: Wednesday, February 15, 2023 12:11 PM
To: Blain, Jordan M (CHI) <Jordan.Blain@skadden.com>; Van Gelder, Amy (CHI)
<Amy.VanGelder@skadden.com>; 'Stein, Scott D.' <sstein@sidley.com>;
Carbone_Defs_Service@listserv.whitecase.com
Cc: 'Robert Gilbert' <rgilbert@gilbertlitigators.com>; Bernescu, Laura (CHI)
<Laura.Bernescu@skadden.com>; 'Ted Normand' <tnormand@fnf.law>; '568 Litigation'
<568_Litigation@fnf.law>
Subject: [Ext] RE: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Jordan and Amy,

Plaintiffs had understood that Defendants would send a final version of the
spreadsheet reflecting the parties’ discussions through our last meet-and-confer on
Thursday, February 9. Jordan, are you the person stepping into Laura’s shoes in that
regard?

Thank you,

Steven Magnusson
Associate
Gilbert Litigators & Counselors, P.C.
Cell: 617.894.9312
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smagnusson@gilbertlitigators.com
www.gilbertlitigators.com

From: Bernescu, Laura <Laura.Bernescu@skadden.com>
Sent: Wednesday, February 8, 2023 6:54 PM
To: 'Robert Gilbert' <rgilbert@gilbertlitigators.com>; Stein, Scott D.
<sstein@sidley.com>; Carbone_Defs_Service@listserv.whitecase.com
Cc: Ted Normand <tnormand@fnf.law>; smagnusson@gilbertlitigators.com; 568
Litigation <568_Litigation@fnf.law>
Subject: RE: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Hi Bob,

We can be available at 4:30pm CT tomorrow to discuss search terms. If that works, please send
an invite or let us know if you’d like us to send. Thanks.

Laura Bernescu
Skadden, Arps, Slate, Meagher & Flom LLP
155 N. Wacker Drive | Chicago | Illinois | 60606-1720
T: 312.407.0709 | F: 312.827.9421
laura.bernescu@skadden.com


From: Robert Gilbert <rgilbert@gilbertlitigators.com>
Sent: Wednesday, February 8, 2023 5:37 PM
To: Bernescu, Laura (CHI) <Laura.Bernescu@skadden.com>; Stein, Scott D.
<sstein@sidley.com>; Carbone_Defs_Service@listserv.whitecase.com
Cc: Ted Normand <tnormand@fnf.law>; smagnusson@gilbertlitigators.com; 568
Litigation <568_Litigation@fnf.law>
Subject: [Ext] RE: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Hi Laura,

Thank you for your note. Item 7 in the Court’s minute entry states that the parties are,
“directed to file a status report on 2/10/2023 setting out what remaining issues
identified in the parties’ previous status reports and motions have not yet been ruled
upon.” Search terms were identified at pages 17-18 and 20, so we should have a short
call tomorrow about what the parties want to say in Friday’s status report.

A couple of us can have a call with you between 4:30pm and 6:30 pm tomorrow. No
guarantees, but we may have some sense of the RFPs that we are cutting by that time.
By the same token, please try to be prepared to respond to Steve Magnusson’s most
recent substantive email on this subject. I very much doubt that anyone wants to inform
His Honor in a Friday status report that we cannot agree on three search strings

Thank you.

Best regards,

Bob

Robert D. Gilbert
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Managing Partner
Gilbert Litigators & Counselors
11 Broadway, Suite 615
New York, NY 10004
rgilbert@gilbertlitigators.com
646-448-5269 work
203-645-0055 cell
www.gilbertlitigators.com

From: Bernescu, Laura
Sent: Wednesday, February 8, 2023 2:50 PM
To: Stein, Scott D.; Ted Normand; rgilbert@gilbertlitigators.com; 568 Litigation; Steven
Magnusson
Cc: Carbone_Defs_Service@listserv.whitecase.com
Subject: RE: Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Counsel,

Consistent with the below, we think it makes sense to hold off on scheduling a further meet and
confer regarding search terms until we have clarity on which RFPs remain at issue. Thanks.

Best,

Laura

Laura Bernescu
Skadden, Arps, Slate, Meagher & Flom LLP
155 N. Wacker Drive | Chicago | Illinois | 60606-1720
T: 312.407.0709 | F: 312.827.9421
laura.bernescu@skadden.com


From: Stein, Scott D. <sstein@sidley.com>
Sent: Wednesday, February 8, 2023 1:47 PM
To: Ted Normand <tnormand@fnf.law>; rgilbert@gilbertlitigators.com; 568 Litigation
<568_Litigation@fnf.law>
Cc: Carbone_Defs_Service@listserv.whitecase.com
Subject: [Ext] Judge Kennelly's Ruling Limiting the Parties to 100 Total RFPs

Counsel,

In light of Judge Kennelly's ruling today limiting each side to 100 RFPs in total, please
let us know by the end of this week which of Plaintiffs’ already-served RFPs we should
be responding to. It would be sufficient to just identify them by set and number (e.g.
First RFPs: #, #, #, etc; Second RFPs: #, #, #).

Needless to say, it is critical that we receive this information promptly given the
discovery-related deadlines in the case schedule. In addition, knowing this universe is
critical to continue discussions on several outstanding issues, including search terms,
TAR, and post-complaint discovery.

- Scott
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SCOTT D. STEIN


SIDLEY AUSTIN LLP
312 853 7520 (work)
773 220 4277 (cell)
sstein@sidley.com



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d ssem nat on, d str but on or copy ng of th s ema (and any attachments thereto) s str ct y proh b ted. If you rece ve th s ema n
error p ease mmed ate y not fy me at (212) 735-3000 and permanent y de ete the or g na ema (and any copy of any ema ) and
any pr ntout thereof.

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RFP No.                                                              Request                                                                                    Proposal/Revision
    1     Documents sufficient to show for each Academic Year during the Relevant Time Period:                                       For structured data, proposed time period of January 1, 1998.
          a. the number of Applicants;
          b. the number of Admitted Applicants;
          c. the number of Applicants You placed on a Waitlist;
          d. the number of Admitted Applicants who enrolled as Students;
          e. the number of Students in each class in each of the four years of Your undergraduate program;
          f. the number of Students in each class of the four years of Your undergraduate program enrolled in any schools, colleges,
          or programs with unique Admissions processes, including but not limited to Columbia University School of General Studies,
          Oxford College at Emory University, the University of Pennsylvania School of Liberal and Professional Studies, the Brown
          University Resumed Undergraduate Education program, the Georgetown University School of Continuing Studies Bachelor’s
          Completion Program, the Duke University Continuing Studies program for degree-seeking candidates, and the Yale
          University Eli Whitney Students Program;
          g. the number of Transfer Applicants;
          h. the number of Admitted Transfer Applicants;
          i. the average Financial Aid Package You extended to Admitted Applicants;
          j. the average Financial Aid Package You extended to Admitted Transfer Applicants;
          k. the average Net Price of each Admitted Applicant;
          l. the average Net Price of each Admitted Waitlist Applicant; and
          m. the average Net Price of each Admitted Transfer Applicant.

   2      For each Financial Aid Applicant during the Relevant Time Period, all data and information from each Financial Aid
          Applicant’s SAR, CSS Profile, or any other Financial Aid application, for each Academic Year beginning when the Financial  For structured data, proposed time period of January 1, 1998.
          Aid Applicant initially applied to Your full-time undergraduate program through every Academic Year the Financial Aid
          Applicant continued enrollment beyond the initial Academic Year of matriculation. Such data, provided in Electronic Format If Defendants stipulate there are no other line items from the (SAR) that
          include but are not limited to:                                                                                            any Defendant uses from the SAR in making student-specific financial
          a. from the SAR, if applicable, any common identifier, including Federal Methodology (FM), EFC, data release number        aid determinations, and stipulate that all factors disclosed in connection
          (“DRN”), and last four digits of the Applicant’s social security number;                                                   with these RFPs are the complete set of the factors assigned a
          b. from the CSS Profile, if applicable, any College Board Financial Aid Number (CBFinAid ID) or other means of uniquely    numerical ranking or score and that each factor has a positive (greater
          identifying the Applicant;                                                                                                 than zero) weight in admissions decisions regarding individual
          c. the Student’s full name;                                                                                                applicants, then Plaintiffs propose, in lieu of RFP No. 2 (g) – (i),
          d. all Applicant ID numbers received, created, or otherwise used by Your institution;                                      responses that include the following elements of Sample Student Aid
          e. the applicable Academic Year;                                                                                           Report each Admitted Applicant:
          f. the Admitted Applicant’s or Student’s applications to, Admission decisions by, and Financial Aid offers from other      35 – Student AGI
          institutions;                                                                                                              40 – Student cash savings
          g. the Admitted Applicant’s or Student’s family financial information, including income, assets, and benefits;             41 – Student net worth
          h. the Admitted Applicant’s or Student’s family size, including the number of family members who will be attending college 46 – Is student married?
          during the applicable Academic Year; and                                                                                   50 – Does student have a child?
          i. any other data collected for the purpose of, considered in, or relied upon for making any Financial Aid determination,  58 – Parent’s marital status
          including but not limited to the packaging of Financial Aid (i.e. mix of Loans, Gift Aid, and work-study).                 83 – Parents AGI
                                                                                                                                     86 – Father’s earned income
   3      All Documents Concerning the effect of the following factors on the decisions of Admitted Applicants to attend Your        87 – Mother’s earned income
          undergraduate institution:
          a. changes in Your Net Price and/or changes in other undergraduate institutions’ Net Prices;
          b. other institutions’ pricing policies; and/or
          c. Your or other institutions’ Financial Aid policies, including but not limited to any reports or memoranda exchanged
          recommending changes to your prices, Net Prices, Costs of Attendance, and/or Financial Aid policies in light of changes or
          announcements by other institution
   4      For each Financial Aid Applicant to Your full-time undergraduate program during the Relevant Time Period, all data and       For structured data, proposed time period of January 1, 1998.
          information contained in any (a) Financial Aid management software database or platform or (b) Admissions and
          Enrollment Management Software, database, or platform, with such data to be provided in the Electronic Format in which
          such data were received and/or subsequently stored if such data were imported or otherwise integrated into Your
          databases




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RFP No.                                                                Request                                                                                         Proposal/Revision
    5     To the extent not provided in response to one of the Requests above, for each Financial Aid Applicant to Your full-time        For structured data, proposed time period of January 1, 1998.
          undergraduate program during the Relevant Time Period, provided in the Electronic Format in which such data were
          received and/or subsequently stored if such data were imported or otherwise integrated into Your databases:                    The use of the word “substantial” is gratuitous, and is not meant to
          a. All Applicant ID numbers received, created, or otherwise used by Your institution;                                          qualify the meaning of “Donation.”
          b. the Academic Year of the Financial Aid Applicant’s Financial Aid Application;
          c. the date of the Admissions application;                                                                                     Plaintiffs are amending the definition of “Donation” as follows:
          d. the date of the Financial Aid Application;
          e. each Financial Aid Applicant’s identification number;                                                                       28. “Donation” includes but is not limited to restricted or unrestricted
          f. if a Financial Aid Applicant is a returning Student, the Student identification number or other identification number(s)    cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
          maintained, created, or used by Your institution.                                                                              securities, or business interests, bequests, gifts of real property, gifts of
          g. the Applicant’s full name;                                                                                                  personal property, gifts of retirement plans, gifts of life insurance, gifts
          h. the Applicant’s age;                                                                                                        of copyrights, gifts of royalties, gifts of patents, assignments of
          i. the Applicant’s race;                                                                                                       contractual income rights, gifts of oil and gas interests, one-time gifts,
          j. the Applicant’s ethnicity;                                                                                                  recurring gifts, planned gifts, life income gifts, or in-kind donations
          k. the admittance status of the Applicant at Your institution and any other institution;                                       valued on a one-time basis or cumulatively over a period of years at
          l. any information Concerning the Financial Aid Applicant’s actual or potential Financial Aid, including whether the Applicant $50,000 or more. Donation also includes any gifts resulting in an
          applied for Financial Aid;                                                                                                     “endowed chair” or similar honorific such as the name of a building or a
          m. whether the Applicant applied for any Early Admissions Program, Regular Decision, as a Transfer, or was placed on a         stadium.
          Waitlist;
          n. whether the Applicant had any family member who attended Your institution;
          o. whether any of the Applicant’s parents were or are faculty or otherwise employed at Your institution;
          p. whether the Applicant was considered eligible for any preferential admission on the basis of the Applicant’s lack of need
          for Financial Aid or because of the Applicant’s family’s capacity to make a substantial Donation; and
          q. any other data considered in connection with the Applicant’s application.


   6      Any and all common identifiers that You have received, maintained, or used that permit matching an Applicant or Student For structured data, proposed time period of January 1, 1998.
          across post-secondary institutions to which the Applicant or Student may have applied for Admissions and/or Financial Aid,
          including but not limited to common identifiers You have obtained from outside sources such as the U.S. Department of
          Education, the College Board, or the Student or Student’s family
   7      For all Financial Aid Applicants during the Relevant Time Period, all data, information and/or formulae, including Your           For structured data, proposed time period of January 1, 1998.
          Internal Financial Aid Formulae, maintained, created, or used by You to evaluate a Financial Aid Applicant’s Financial Aid
          eligibility and Financial Aid Package for each Academic Year beginning when the Applicant initially applied for Your full-
          time undergraduate program through every Academic Year the Student continued enrollment or otherwise submitted a
          Financial Aid Application beyond the initial Academic Year of matriculation. Such data, provided in Electronic Format,
          include but are not limited to:
          a. the Applicant’s IM EFC;
          b. the Applicant’s FM EFC
          c. the Applicant’s EFC For Your Institutional Aid Formulae;
          d. all factors used in the determination of the IM EFC, including any and all formula(e) used;
          e. all factors used in the determination of the FM EFC, including any and all formula(e) used;
          f. all factors used in the determination of the EFC for Your Institutional Aid Formulae;
          g. all forms of Financial Aid offered to the Applicant, including but not limited to federal, institutional aid, and work-study
          programs; and
          h. any data identifying any individual eligible for an FSEOG but who did not receive such funds because the institution had
          reached or exceeded its allotment

   12     For all Admitted Waitlist Applicants, Documents sufficient to identify the Admitted Waitlisted Applicant, whether the   For structured data, proposed time period of January 1, 1998.
          Admitted Waitlisted Applicant sought Financial Aid, and any Financial Aid Package offered to or awarded to the Admitted
          Applicant.
   14     For all Admitted Transfer Applicants, Admissions Documents sufficient to identify the Admitted Applicant and all        For structured data, proposed time period of January 1, 1998.
          Documents Concerning whether the Admitted Transfer Applicant sought Financial Aid and any Financial Aid Package offered
          to or awarded to the Admitted Transfer Applicant.




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RFP No.                                                             Request                                                                                          Proposal/Revision
   16     For each and every Applicant and Student during the Relevant Time Period, all data Concerning Your calculation of each          For structured data, proposed time period of January 1, 1998.
          Applicant’s Net Price of attendance quoted and charged to them, and all components of the Net Price, for each Academic
          Year beginning when the Applicant initially applied for Your full-time undergraduate program through every Academic Year
          the Student continued enrollment beyond the initial Academic Year of matriculation. Such data shall be provided in the
          Electronic Format in which such data were received and/or subsequently stored if such data were imported or otherwise
          integrated into Your databases, and shall include the amount, date, transaction ID, whether it is a charge or credit, and
          charge or credit type for the following:
          a. each Cost-of-Attendance-related charge applied to the Student’s account, including (but not limited to) Tuition, Room
          and Board fees, authorized on-campus or off-campus living expenses, and activity fees;
          b. each credit applied to the Student’s account, including but not limited to any institutional aid, federal aid, parent Loans,
          and scholarships from sources other than You or the federal government;
          c. each disbursement You made to the Student; and
          d. for any Student who withdrew from the institution, each return of Title IV funds (R2T4) calculated.

   18     To the extent not captured elsewhere in these Requests for Production, all data collected from each Financial Aid Applicant     For structured data, proposed time period of January 1, 1998.
          that serve as an Input into such formulae.
   20     Documents sufficient to show all Donations cumulatively valued at $50,000 or more made by families of Admitted                  Plaintiffs are amending the definition of “Donation” as follows:
          Applicants during the period five years prior to when the Admitted Applicants were admitted. For Admitted Applicants who
          matriculated, this Request also seeks all Documents Concerning Donations made by them, on their behalf, or by their             28. “Donation” includes but is not limited to restricted or unrestricted
          families between the Students’ matriculation and the five years following their graduation.                                     cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
                                                                                                                                          securities, or business interests, bequests, gifts of real property, gifts of
                                                                                                                                          personal property, gifts of retirement plans, gifts of life insurance, gifts
                                                                                                                                          of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                          contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                          recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                          valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                          $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                          “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                          stadium.

   22     With respect to the list of individuals in Appendix 1, all Documents in your Development Office or Admissions Office         Plaintiffs are amending the definition of “Donation” as follows:
          Concerning any actual or potential Donation to You by such individuals, as well as all Documents in your Development Office
          or Admissions Office Concerning any Applicants who are identified in any files, records, databases, or software used by your 28. “Donation” includes but is not limited to restricted or unrestricted
          Development Office as children, relatives, or friends of such individuals                                                    cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
                                                                                                                                       securities, or business interests, bequests, gifts of real property, gifts of
                                                                                                                                       personal property, gifts of retirement plans, gifts of life insurance, gifts
                                                                                                                                       of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                       contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                       recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                       valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                       $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                       “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                       stadium.

   23     All Documents or database entries Concerning awareness by the Development Office of any Applicant at any time prior to
          that Applicant’s matriculation at Your institution.
   24     All Documents Concerning the 568 Group, the 568 Group’s leadership, and the 568 Group’s policies, practices, and
          procedures. This Request includes any internal communications, including but not limited to those via email, text message,
          instant message, and memorandum.
   27     All Documents, including drafts, that You received from the 568 Group, Technical Committee, Needs Analysis Council, and
          Steering Committee and All Documents sent or distributed by one or more 568 Group Members to the 568 Group, its
          Technical Committee, its Needs Analysis Council, and its Steering Committee.




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RFP No.                                                               Request                                                                                          Proposal/Revision
   29     All Documents Concerning the Consensus Methodology including: (a) its development; (b) any proposed or implemented
          changes since its inception, including the effects of such changes on 568 Group Members or any of them; (c) comparisons
          of the Consensus Methodology to the Institutional Methodology, Federal Methodology, any 568 Group Member’s Financial
          Aid methodology or practice(s), or any other Financial Aid methodology or practice(s); (d) studies or analyses of the impact
          of the Consensus Methodology on Financial Aid or Tuition; (e) rules or regulations Concerning 568 Group Members’
          implementation of the Consensus Methodology or Financial Aid methodologies or practices; (f) Documents used to train any
          person in the use, application, or understanding of the Consensus Methodology; and (g) marketing, advertising, or public
          relations material Concerning the Consensus Methodology.
   30     All Documents Concerning:
          a. how the 568 Group has defined the term “need-blind”; and
          b. how the 568 Group communicated requirements for 568 Group Members to be “need-blind” under its standards,
          including all memoranda of understanding and Certifications of Compliance; any auditing or similar efforts to ensure that
          568 Group Members complied with the 568 Group’s “need-blind” standard; any Enforcement Mechanisms contemplated or
          action actually taken against members for failing to comply with the 568 Group’s “need-blind” standard; and any
          Documents Concerning the treatment of Waitlisted Applicants and Transfer Applicants with respect to being “need-blind”
          under the 568 Group’s standard.
   31     All Documents Concerning the 568 Group that also Concern the actual or potential preferential treatment of Applicants           The use of the word “substantial” is gratuitous, and is not meant to
          from families capable of making substantial Donations; any Documents Concerning actual or potential preferential                qualify the meaning of “Donation.”
          treatment of Applicants who did not need Financial Aid; and any discussions of Enrollment Management, including any
          efforts, plans, or proposals to craft the composition of classes at 568 Group Member institutions to achieve revenue or         Plaintiffs are amending the definition of “Donation” as follows:
          other financial goals.
                                                                                                                                          28. “Donation” includes but is not limited to restricted or unrestricted
                                                                                                                                          cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
                                                                                                                                          securities, or business interests, bequests, gifts of real property, gifts of
                                                                                                                                          personal property, gifts of retirement plans, gifts of life insurance, gifts
                                                                                                                                          of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                          contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                          recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                          valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                          $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                          “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                          stadium.

   38     All Documents Concerning communications among 568 Group Members and governmental entities regarding Financial Aid,
          including but not limited to Financial Aid policies, Financial Aid practices, and Financial Aid Packages. “Government
          entities” include but are not limited to the U.S. Department of Justice and the U.S. Department of Education.
   39     All Documents Concerning data exchanged between or among 568 Group Members and/or between You and the 568 Group
          or its membership, including but not limited to the sharing of data or other information related to Financial Aid formula(e),
          Financial Aid policies, Financial Aid packages for Students and Admitted Applicants, and Admissions decisions of Applicants

   41     Documents sufficient to show Your organizational structure, including Your directors, officers, deans, and employees         Plaintiffs are amending the definition of “Donation” as follows:
          involved in, and Your departments, divisions, affiliates, or contractors engaged in (a) the Admission of undergraduate
          Students to Your institution, (b) the solicitation and management of Donations and gifts to Your institution or any of its   28. “Donation” includes but is not limited to restricted or unrestricted
          subdivisions or component entities, (c) the development of budgets, and (d) institutional research and competitive analysis. cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
          This Request includes organizational charts and Documents sufficient to identify each employee or contractor with            securities, or business interests, bequests, gifts of real property, gifts of
          responsibilities for undergraduate Admissions, Enrollment Management, Development and Donor relations, alumni                personal property, gifts of retirement plans, gifts of life insurance, gifts
          relations, finance and investments, the coordination of the Development office and the Admissions office, and institutional of copyrights, gifts of royalties, gifts of patents, assignments of
          research.                                                                                                                    contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                       recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                       valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                       $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                       “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                       stadium.

   42     All Documents Concerning Your decision(s) to join, leave, purportedly withdraw from, or continue participating in the 568
          Group at any time or times during the Relevant Time Period. This Request includes all communications, internal or with
          third parties, about such decisions, including communications with counsel other than those solely between You and Your
          counsel.




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RFP No.                                                              Request                                                                                         Proposal/Revision
   43     All Documents Concerning Your communications with any 568 Group Member Concerning (a) Admission of Students, (b)
          cost of Tuition, (c) Financial Aid programs or packages, and (d) need-blind (however You define that term) Admissions
          practices and/or (e) the Consensus Methodology or implementation of the Consensus Methodology or similar Financial Aid
          formulae.
   45     All Documents Concerning Your use of, implementation of, decision to modify, or decision to use an alternative
          methodology to, the Consensus Methodology.
   46     All Documents Concerning (a) the creation and structuring of your Financial Aid Packages, (b) Financial Aid being a
          functional or apparent Discount, (c) Your institutional and outside funding for Financial Aid, and (d) any analyses or data
          Concerning Your ability to provide Financial Aid.
   48     All Documents made available or presented to prospective Applicants, their families, college Admissions Consultants,
          school counselors, and coaches comparing Your institution and/or its Financial Aid programs, policies, and practices to
          those of other institutions.
   49     Documents, including any statements, summaries, forecasts, strategic plans, budgets, data, and analyses, sufficient to
          demonstrate, for each Academic Year during the Relevant Time Period, Your Tuition revenue, Financial Aid, Development
          efforts or income, endowment performance, and costs to establish and operate Your institution, including but not limited to
          fixed-costs, financing, upgrades, improvements, maintenance, utilities, and renovations.
   50     Documents, including any statements, summaries, forecasts, strategic plans, budgets, data, and analyses, sufficient to
          demonstrate, for each Academic Year during the Relevant Time Period, the Cost of Attendance at Your institution, including
          but not limited to how Your Cost of Attendance was determined during the Relevant Time Period.
   51     All Documents Concerning Your public statements regarding reasons for increases to Tuition or Cost of Attendance.
   53     For each of Your fiscal or calendar years during the Relevant Time Period, in whichever manner such Documents are           Plaintiffs are amending the definition of “Donation” as follows:
          normally maintained, all Documents Concerning: (a) the dollar amount of Your restricted endowment assets (i.e.,
          endowments assets resulting from Restricted Donations); (b) the dollar amount of Your restricted endowment assets that 28. “Donation” includes but is not limited to restricted or unrestricted
          are devoted to undergraduate Financial Aid; (c) the dollar amount of Your unrestricted endowment assets (i.e., endowment cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
          assets resulting from Unrestricted Donations); (d) the annual percentage return earned by Your endowment (i.e.,             securities, or business interests, bequests, gifts of real property, gifts of
          endowment income divided by endowment assets); (e) the total number of Students; and (f) the total number of full-time personal property, gifts of retirement plans, gifts of life insurance, gifts
          students, including those in graduate and professional school.                                                              of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                      contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                      recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                      valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                      $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                      “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                      stadium.

   54     All Documents Concerning policies, practices, and procedures relating to applications to your undergraduate programs and
          for Financial Aid during the Relevant Time Period including but not limited to Common Application submissions, Coalition
          application submissions, QuestBridge application submissions, Posse application submissions, Your internal Admissions
          application submissions, FAFSA and SAR submissions, CSS Profile submissions, supplemental Financial Aid Application form
          submissions, Financial Aid Packages provided to all Admitted Applicants and Students, and any revisions to Financial Aid
          Packages.
   55     Documents sufficient to show Your Admissions and Financial Aid policies, practices, and procedures for each Academic Year
          during the Relevant Time Period, including handbooks, manuals, training materials, and promotional materials.
   58     All Documents Concerning Dean’s Interest Lists, Z Lists, and Tagging protocols and any Documents reflecting that anyone in
          Your Admissions office or President’s Office, or deans’ offices viewed images of Applicants’ homes, considered Applicants’
          family income or family wealth in any way, considered whether Applicants’ zip codes signified affluence, or considered
          whether the Applicants revealed in any way that they intended to apply for Financial Aid
   61     All Documents Concerning differences in Your Financial Aid policies, practices, or procedures for Applicants and Admitted
          Applicants (a) in any Early Admissions programs; (b) in the Regular Decision program; (c) off the Waitlist; (d) as a Transfer
          Applicant; or (e) into any schools, colleges, or programs with unique Admissions processes, including but not limited to
          Columbia University’s School of General Studies, Oxford College at Emory University, the University of Pennsylvania School
          of Liberal and Professional Studies, the Brown University Resumed Undergraduate Education program, the Georgetown
          University School of Continuing Studies Bachelor’s Completion Program, the Duke University Continuing Studies program for
          degree-seeking candidates, and Yale University Eli Whitney Students Program.




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RFP No.                                                              Request                                                                                              Proposal/Revision
   62     All Documents Concerning the Admissions and Financial Aid policies and practices, formal or informal, for programs
          targeted toward non-traditional, full-time degree-seeking undergraduate Applicants and Students, including those with
          breaks in their education, adult learners, and those with dependents. Such programs include but are not limited to the
          Columbia University School of General Studies, the University of Pennsylvania School of Liberal and Professional Studies,
          the Brown Resumed Undergraduate Education program, the Georgetown School of Continuing Studies Bachelor’s
          Completion Program, the Duke University Continuing Studies program for degree-seeking candidates, and Yale’s Eli Whitney
          program
   63     All Documents Concerning any relationship between Early Admissions programs and Financial Aid.                                    Plaintiffs clarify this request to seek:

                                                                                                                                            Documents sufficient to show, for each year since 1994, any policy or
                                                                                                                                            procedure whereby Your institution establishes, views, or regards as
                                                                                                                                            existing any relationship between Early Admission and the likelihood
                                                                                                                                            that an applicant for Early Admission will or will not seek Financial Aid.


   64     All Documents Concerning Your Internal Financial Aid Formula(e), including their development, implementation, changes,
          proposed changes, and comparisons to or implementations of the Consensus Methodology, Institutional Methodology
          Federal Methodology, any 568 Group Member’s Financial Aid formula(e), and any Peer Institutions’ Financial Aid
          formula(e). This Request includes any and all Inputs and Outputs for Your Internal Financial Aid Formula(e) and all
          methodologies and systems used to determine
          a Student or Admitted Applicant’s ability to the pay Cost of Attendance.
   66     All Documents Concerning any purported need for independent professional judgment in the awarding of Financial Aid,
          including, but not limited to, formal or informal Financial Aid appeals or reconsideration processes; successful or
          unsuccessful attempts by Applicants or Students to avail themselves of any such appeal or reconsideration; deviations from
          any Financial Aid formula(e) relevant for particular Applicants or Students based on unique Financial Circumstances or
          presentation of competing Financial Aid offers from other institutions.
   69     All Documents analyzing the choices made by Admitted Applicants to Your institution to attend institutions of higher
          education other than Yours.
   70     All Documents Concerning the application and enrollment decisions of persons who did, and did not, apply to Your full-time
          undergraduate program, including but not limited to all National Student Clearinghouse reports and data Concerning the
          institutions that Applicants applied to and where they chose to enroll.
   72     All Documents analyzing the colleges and universities You consider Peer Institutions, including any such analyses by Your
          Office of Institutional Research or those produced to the U.S. Department of Education or any college ranking organization.
          This Request includes all Documents Concerning Your competitive standing among Peer Institutions, including but not
          limited to analyzes related to brand preferences, supply of available seats, prestige, Cost of Attendance, Net Price, Financial
          Aid, and the ability for Applicants to substitute one Peer Institution for another.
   77     All Documents Concerning Your Enrollment Management, including analyses of the use of any Enrollment Management
          Software, Consultants, employees, analyses, data, or algorithms. This Request includes all Documents within Your
          Admissions Office Concerning Landscape. This Request also includes all Documents Concerning the roles of any
          administrator at Your institution whose title or job description includes the term “enrollment management.”
   80     All Documents Concerning actual or potential consideration of any Applicant’s Financial Circumstances, including all
          Documents Concerning whether an Applicant placed on the Dean’s Interest List or Z List prior to Your making a decision
          regarding whether to admit the Applicant and whether the Applicant was in fact actually accepted for Admission by You.

   82     All Documents Concerning Your membership in, participation in, or affiliation with any professional organizations, alliances,
          consortia, or partnership programs Concerning Admissions, including but not limited to the Common Application, COFHE,
          the Coalition for College, QuestBridge, the Posse Foundation, and the American Talent Initiative. This Request includes all
          data shared between You and these organizations, alliances, or consortia and between You and other partners or members.

   83     All Documents Concerning lobbying the National Commission on Responsibilities for Financing Postsecondary Education and
          the principle, policy, or goal that parents, Students, or families should be primarily responsible for bearing the cost of
          postsecondary education.




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RFP No.                                                            Request                                                                                                   Proposal/Revision
   88     All Documents Concerning the November 14, 2017 Columbia Spectator article by Eli Lee entitled “Public Health Professor
          Lisa Rosen-Metsch Appointed Dean of General Studies” including the editor’s note issued on February 16, 2022 stating, in
          substance, that the article’s previous statement that General Studies Admissions are “need-aware” was in error. See Eli
          Lee, Public Health Professor Lisa Rosen-Metsch Appointed Dean of General Studies, COLUMBIA SPECTATOR (Nov. 14, 2017),
          https://www.columbiaspectator.com/news/2017/11/14/public-health-professor-lisa-rosen-metsch-appointed-dean-of-
          general-studies/.
   98     All Documents Concerning work performed by Jeff Sassorossi, including any work he performed as Dartmouth’s “liaison
          between the Advancement (Alumni Relations and Development) and Admissions” relating to Admissions policies and to
          Admissions of specific Students.
  103     All Documents Concerning Georgetown’s statement that it “compete[s] among the top 25 universities in the nation,”
          including those used to identify the Peer Institutions. See President John J. DeGioia, Student Town Hall Meeting on the
          Implications of the Financial Crisis (Mar. 2, 2009), https://president.georgetown.edu/speeches/student-town-hall-meeting-
          on-the-implications-of-the-financial-crisis/.
  113     All Documents Concerning the Yale Daily News article published on February 16, 2005 entitled “Legacies Still Maintain an
          Edge in Admissions.” Hillary August, Legacies Still Maintain Edge in Admissions, YALE DAILY NEWS (Feb. 16, 2005),
          https://yaledailynews.com/blog/2005/02/16/legacies-still-maintain-edge-in-admissions/. This Request includes all
          Documents Concerning the “A-list,” “B-list,” or “C-list,” mentioned in the article, or any similar lists, including copies of such
          lists, the identities of all Applicants or their family members on such lists, and whether any Applicant connected to any such
          list was ultimately accepted, rejected, or Waitlisted.
  114     All Documents Concerning the September 26, 2008 article in the Yale Daily News entitled “University Leaves Financial Aid
          Group,” including but not limited to statements, comments, discussions, remarks, or analyses by the 568 Group or 568
          Group Members (including Yale) Concerning Yale’s statement that its “new, more generous aid policy in January means the
          University can no longer follow the consensus methodology” and that “[b]y leaving the 568 Group, Yale is now free to give
          more aid than they would have gotten under the consensus methodology.” See Caitlin Roman, University Leaves Financial
          Aid Group, YALE DAILY NEWS (Sept. 26, 2008), https://yaledailynews.com/blog/2008/09/26/university-leaves-financial-aid-
          group/. This Request includes all Documents Concerning Yale’s decision to purportedly withdraw from the 568 Group.


  115     All Documents Concerning Yale’s decision to purportedly re-join the 568 Group.
  116     All Documents Concerning the contents of the November 2, 2018 article in the Yale Daily News entitled “Development
          Office Courts ‘VIP’ High Schoolers, Children of Potential Donors” or the article itself. Lorenzo Arvanitis & Skakel McCooey,
          Development Office Courts “VIP” High Schoolers, Children of Potential Donors, YALE DAILY NEWS (Nov. 2, 2018),
          https://yaledailynews.com/blog/2018/11/02/development-office-courts-vip-high-schoolers-children-of-potential-donors/.

  117     All Documents Concerning foreign national Applicants such as those identified in the March 26, 2022 Air Mail article
          entitled “Yale for Sale.” See Clara Molot, Yale for Sale, AIR MAIL (Mar. 26, 2022), https://airmail.news/issues/2022-3-
          26/yale-for-sale.
  123     All Documents Concerning Your definition of the terms “need aware” and “need sensitive.”
  124     "All Documents Concerning different or preferential treatment in the Admissions process for Applicants whose families are The use of the word “substantial” is gratuitous, and is not meant to qualify
          capable of making substantial Donations and Applicants who do not need Financial Aid at Your institution or that of any 568 the meaning of “Donation.”
          Group Member or Peer Institution."
                                                                                                                                      Plaintiffs are amending the definition of “Donation” as follows:

                                                                                                                                               28. “Donation” includes but is not limited to restricted or unrestricted cash
                                                                                                                                               gifts, non-cash gifts, matching gifts, gifts of stock, bonds, securities, or
                                                                                                                                               business interests, bequests, gifts of real property, gifts of personal
                                                                                                                                               property, gifts of retirement plans, gifts of life insurance, gifts of
                                                                                                                                               copyrights, gifts of royalties, gifts of patents, assignments of contractual
                                                                                                                                               income rights, gifts of oil and gas interests, one-time gifts, recurring gifts,
                                                                                                                                               planned gifts, life income gifts, or in-kind donations valued on a one-time
                                                                                                                                               basis or cumulatively over a period of years at $50,000 or more. Donation
                                                                                                                                               also includes any gifts resulting in an “endowed chair” or similar honorific
                                                                                                                                               such as the name of a building or a stadium.


  126     All Documents Concerning any communications between Your Admissions Office staff and Your Development Office staff
          Concerning any Donor or Applicant, including any email correspondence and any shared electronic data or information
          sources.




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RFP No.                                                              Request                                                                                            Proposal/Revision
  127     All Documents Concerning communications between (a) Your Admissions Office and the Development Office, (b) the
          President’s Office and the Admissions Office, and/or (c) the Financial Aid Office and Admissions Office, including any email
          correspondence and any shared electronic data or information sources, that identify Applicants by name and discuss the
          Applicants’ candidacy prior to Your issuing a formal decision on their Admissions application.
  128     All Documents Concerning communications between or among You (including but not limited to any employee in the
          Development Office, Financial Aid Office, Admissions Office, Alumni Relations Office, or President’s office) and any natural
          person(s) or families, or representatives of such natural person(s) whom You identified as part of a family who has ever
          cumulatively donated $50,000 or more to You (on either a one-time or annual basis in that amount or higher) Concerning
          any Applicants, Admitted Applicants, current Students, or former Students of You
  129     All Documents reflecting communications between or among You (including but not limited to any employee in the               Plaintiffs are amending the definition of “Donation” as follows:
          Development Office, Financial Aid Office, Admissions Office, Alumni Relations Office, or President’s office) and any natural
          person(s) whom You have identified as part of a family Your institution has identified as capable of cumulatively providing 28. “Donation” includes but is not limited to restricted or unrestricted
          Donations of at least $50,000, either on a one time or annual basis, whose children who have applied or have been            cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
          admitted to Your institution.                                                                                                securities, or business interests, bequests, gifts of real property, gifts of
                                                                                                                                       personal property, gifts of retirement plans, gifts of life insurance, gifts
                                                                                                                                       of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                       contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                       recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                       valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                       $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                       “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                       stadium.

                                                                                                                                          Plaintiffs clarify this request to seek:

                                                                                                                                          All Documents Concerning communications between or among You
                                                                                                                                          (including but not limited to any employee in the Development Office,
                                                                                                                                          Financial Aid Office, Admissions Office, Alumni Relations Office, or
                                                                                                                                          President’s office) and any natural person(s) whom You have identified
                                                                                                                                          as part of a family Your institution has identified as having made a
                                                                                                                                          Donation or as capable of cumulatively providing a Donation of at least
                                                                                                                                          $50,000, whose children who have applied or have been admitted to
                                                                                                                                          Your institution.

  130     All Documents reflecting communications between or among the Office of the President, Alumni Relations Office,                  Plaintiffs are amending the definition of “Donation” as follows:
          Development Office, or Admissions Office Concerning an Applicant’s family income, wealth, zip code, or actual or
          anticipated Donations to You.                                                                                                   28. “Donation” includes but is not limited to restricted or unrestricted
                                                                                                                                          cash gifts, non-cash gifts, matching gifts, gifts of stock, bonds,
                                                                                                                                          securities, or business interests, bequests, gifts of real property, gifts of
                                                                                                                                          personal property, gifts of retirement plans, gifts of life insurance, gifts
                                                                                                                                          of copyrights, gifts of royalties, gifts of patents, assignments of
                                                                                                                                          contractual income rights, gifts of oil and gas interests, one-time gifts,
                                                                                                                                          recurring gifts, planned gifts, life income gifts, or in-kind donations
                                                                                                                                          valued on a one-time basis or cumulatively over a period of years at
                                                                                                                                          $50,000 or more. Donation also includes any gifts resulting in an
                                                                                                                                          “endowed chair” or similar honorific such as the name of a building or a
                                                                                                                                          stadium.

  131     All Documents Concerning meetings, phone calls, or other communications other than Applicant Admissions interviews that Plaintiffs clarify this request to seek:
          took place or take place between or among Applicants and any of your faculty, staff, employees, or officers, including any
          communications by Your Development Office or Your President regarding any such meetings, phone calls, or                   Documents sufficient to show, for each year since 1994, any policy,
          communications other than Applicant Admissions interviews.                                                                 procedure, or practice, and the content of the policy, procedure, or
                                                                                                                                     practice, whereby Your president’s office or development office
                                                                                                                                     communicates with Applicants.
  132     All Documents Concerning parents or other relatives of an Applicant establishing, or potentially establishing, an endowed
          chair or endowed fund.
  135     All Documents Concerning the renewal of the 568 Exemption or modification of that exemption, including any advocacy
          Concerning such renewal.




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RFP No.                                                               Request                                                                                  Proposal/Revision
  136     All Documents Concerning Your understandings or agreements, formal or informal, with the 568 Group or 568 Group
          Members regarding Admissions or Financial Aid policies or practices.
  138     All Documents Concerning agreements, discussions, communications, or meetings between You and any other college(s) or
          university(ies) Concerning Financial Aid, Cost of Attendance, and Admissions, including with regard to particular Students or
          Applicants.
  139     "All Documents Concerning any agreements between You and any other colleges or universities to share information
          Concerning Applicants admitted through Early Admissions Programs."
  140     All Documents Concerning communications with any officer, trustee, or employee of Harvard University, Princeton
          University, Stanford University, or any institution that You believe did not adopt the Consensus Methodology Concerning the
          568 Group, the 568 Exemption, or any actual or potential discussions, agreements, or sharing of information under the
          Exemption.
  142     All Documents Concerning any conversations, meetings, or communications between You and any other institution of higher
          education about efforts, individually or collectively, to persuade Congress to extend and/or modify the 568 Exemption after
          it is scheduled to expire on September 30, 2022. This Request includes All Documents between You and any person or entity
          employed as a lobbyist by you on these subjects, or between You and any Member of Congress or Congressional staff
          person on these subjects.
  143     All Documents Concerning any affirmative defense You have raised or may raise in this Action.
  144     All Documents Concerning Your institution’s efforts, policies, or goals to admit Students that reflect either (a) the “unique
          potential of applicants from less fortunate situations;” or (b) an economically diverse class.
  145     All Documents Concerning Your institution’s efforts, policies, or goals to limit the number of Admitted Applicants who need
          Financial Aid.
  147     If you contend that You have withdrawn from the 568 Group at any point during the Relevant Time Period, all Documents
          Concerning:
          a. Your alleged decision to withdraw;
          b. how You have implemented that decision;
          c. any use You have made of the Consensus Methodology or any of its principles since purportedly withdrawing;
          d. alternative methods of determining financial need or Financial Aid awards that you have used since purportedly
          withdrawing;
          e. differences in outcomes between Your former use of the Consensus Methodology and any subsequent Financial Aid
          practices;
          f. any communications you have had with anyone (including the 568 Group and 568 Group members) since Your withdrawal
          regarding any of the matters in items “a”-“e” of this Request; and
          g. any Documents Concerning Your disavowing or repudiating the 568 Group and the 568 Group’s goals.

  150     All Documents Concerning the possible or actual use of endowment funds to increase Financial Aid or decrease the Cost of
          Attendance for undergraduate Students. This Request also includes all Documents Concerning the use of endowment
          principal or income for Financial Aid.
  151     All Documents Concerning any Merit Aid offered to Applicants and awarded to Students during the Relevant Time Period.

  154     All Documents Concerning the actual or potential effect of Your being a 568 Group Member, including the actual or
          potential effect of adopting or considering the Consensus Methodology, or any modifications to Your Financial Aid
          methodology made as a result of the 568 Group, on Your Financial Aid or Cost of Attendance.
  155     Documents Concerning whether Your use of the Consensus Methodology or Your membership in the 568 Group had, has, or
          could have the effect of limiting the discretion of Your Financial Aid officers to grant additional Financial Aid.
  156     All Documents Concerning Your views, concerns, or considerations regarding whether elimination of the 568 Group would
          increase Financial Aid awards.
  157     All Documents Concerning Princeton University’s announcements in 1998 and 2001 Concerning the elimination of Loans
          from Financial Aid Packages.
  158     All Documents Concerning any principle, policy, goal, or analysis regarding the amount that a Student (or the Student’s
          family) should bear with respect to financing the cost of postsecondary education.
  160     All Documents referenced or relied upon in responding to interrogatories in this Action.
  163     All Documents Concerning any communications You had with any governmental authority or representative in connection
          with the 568 Exemption, the 568 Group, or the Consensus Methodology.
   1       All Documents Concerning Your study, analysis, or discussion regarding any relationship between Your admission of Legacy “Legacy Admission” means a policy or practice, whether formal or
          Admissions and Your receipt of current or future Donations.                                                               informal, in which You grant preferences to children, grandchildren,
                                                                                                                                    nieces, nephews, or siblings of alumni of undergraduate or graduate
                                                                                                                                    programs.




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RFP No.                                                              Request                                                                                         Proposal/Revision
    2     All Documents Concerning any scoring methodologies You have used in considering whether to admit Applicants, including
          but not limited to the principal factors that You have considered in Admissions; any numerical ranking or scoring system(s)
          used in connection with those factor(s); and any weight applied to any particular ranking or scoring of the Applicants or any
          particular factor.
   3      For all Admitted Applicants, Documents reflecting for each Academic Year the scores assigned to each factor disclosed in
          response to Request No. 2 and the weight, if any, applied to that factor.
   4      For each Donor-related Admitted Applicant, all letters of recommendation submitted to You by a Donor, or person who             Donor-related Admitted Applicant” is an Admitted Applicant whose
          refers to the Donor or donation in the recommendation, on behalf of the Applicant.                                              parent, grandparent, aunt/uncle, or sibling made Donation(s) to You
                                                                                                                                          cumulatively valued at $50,000 or more during the five year period prior
                                                                                                                                          to the admission of the Admitted Applicant.
   1      All Documents Concerning the 568 Group, including the purposes or reasons for the formation of the 568 Group in 1998,
          including Documents Concerning Your communications with third parties, with Your board of trustees, and with counsel
          other than Your counsel.
   4      All Documents provided to or considered by You in making any decisions to join, leave, purportedly withdraw from, or
          continue to participate in the 568 Group, including Documents provided to or considered by Your board of trustees.
   5      All Documents provided to Your board of trustees or President Concerning the 568 Group, including any updates, status
          reports, progress reports, annual reports, or recommendations related to the 568 Group.
   8      All Documents Concerning the expiration of the 568 Exemption on September 30, 2022, including any conversations,
          meetings, or communications regarding the effect of the expiration of the 568 Exemption on Your participation in the 568
          Group, including Documents Concerning Your communications with third parties, such as any person or entity employed as a
          lobbyist, and with counsel other than Your counsel.
   10     All Documents Concerning any changes You or any other Defendant have made to any Admissions or Financial Aid policies
          or practices since the Complaint was filed.
   11     All Documents in your President’s office, Development Office, or Admissions Office Concerning any actual or potential
          Donation to You by the individuals in Appendix 1, as well as all Documents in your President’s office, Development Office, or
          Admissions Office Concerning any Applicants who are identified in any files, records, databases, or software used by your
          Development Office as children or relatives of the individuals in Appendix 1.
   13     Documents sufficient to show whether any foreign national Applicants who are also Donor-related Admitted Applicants           Donor-related Admitted Applicant” is an Admitted Applicant whose
          were admitted for permanent residence in the United States at the time of their applications to You, including those          parent, grandparent, aunt/uncle, or sibling made Donation(s) to You
          Applicants identified in Clara Molot, From Russia With Money, Yale for Sale, AIR MAIL (Mar. 26, 2022),                        cumulatively valued at $50,000 or more during the five year period prior
          https://airmail.news/issues/2022-3-26/yale-for-sale.                                                                          to the admission of the Admitted Applicant.




                                                                                                                          First Set
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 From: Ted Normand <tnormand@fnf.law>
 Sent: Tuesday, February 14, 2023 8:47 PM
 To: Carbone_Defs_Service@listserv.whitecase.com
 Cc: 568 Litigation <568_Litigation@fnf.law>
 Subject: Chart of Plaintiffs' Revised RFPs

 I attach, per the Court’s recent Order, a chart of Plaintiffs’ revised set of RFPs. There are, by our
 count, 93 RFPs in the chart (such that we may serve a few more down the road). We’re sending
 them this way to capture our various clarifications concerning scope and definitions relating to
 the RFPs, as reflected in our November 2022 chart doing similar work seeking to capture the
 parties’ subsequent communications concerning such issues. Thanks.

  Ted Normand
  Partner
  Freedman Normand Friedland LLP
  99 Park Ave., Suite 1910
  New York, NY 10016
  (t) 646.350.0527 x 104
  (f) 646.392.8842
  (d) 646.970.7513
  @ tnormand@fnf.law



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